            Case 15-00592              Doc 2         Filed 08/17/15              Entered 08/17/15 14:04:09                      Desc Stamped
                                                         Summons                 Page 1 of 20

                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: CITY OF CHICAGO PARKING TICKETS


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

            IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: COMMONWEALTH EDISON


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

            IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: CREDIT MANAGEMENT


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

            IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: DEPARTMENT OF CHILDREN AND FAMILIES


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

            IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: ENHANCED RECOVERY CORPORATION


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

            IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: GMAC


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

            IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: GM FINANCIAL


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

            IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: ILLINOIS TOLLWAY


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

            IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: INTERNAL REVENUE SERVICE


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

            IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: ILLINOIS DEPARTMENT OF HEALTHCARE


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: MEDICAL BUSINESS BUREAU INC


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: MUNICOLLOFAM


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: NATIONAL PAYMENT CENTER


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

            IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: NORTHWEST COLLECTORS


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

            IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: OPTIMUM OUTCOMES INC


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: PAYDAY LOAN STORE


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.
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                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: PEOPLES GAS


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: STANLEY ANDREW SHUMAKE, SR.


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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                  Date Issued




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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: STELLAR RECOVERY INC


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 15−25019
             STEVEN SHUMAKE AND ASIA TATE
                                                                                                             Debtor
             Adversary Proceeding No. 15−00592
             STEVEN SHUMAKE
             ASIA TATE
                                                                                                             Plaintiff
             v.
             CITY OF CHICAGO PARKING TICKETS
             COMMONWEALTH EDISON ET. AL.
                                                                                                             Defendant

                                                            SUMMONS IN AN ADVERSARY PROCEEDING


             To: TSI/980


             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.


             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604


            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Aaron M Weinberg
                                                        20 S. Clark St.
                                                        28th Floor
                                                        Chicago, IL 60603


            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 744                                      09/24/2015 at 10:00AM
                                                        Chicago IL 60604

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            RELIEF DEMANDED IN THE COMPLAINT.
                  Date Issued




                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



ILNB 2012
